FILE
IN OPEN COURT
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IN THE UNITED STATES DISTRICT COURT FOR THE OCT 18 2023
EASTERN DISTRICT OF VIRGINIA
CLERK, U.S. DISTRICT COURT
NORFOLK DIVISION NORFOLK, VA

UNITED STATES OF AMERICA

V. Case No. 2:23-cr-108

TYLER RUSSELL SEVIN

Defendant.

STATEMENT OF FACTS

The United States and the defendant, TYLER RUSSELL SEVIN (hereinafter, “the
defendant”), agree that at trial, the United States would have proven the following facts beyond a
reasonable doubt with admissible and credible evidence:

l, In February 2023, law enforcement, in an undercover capacity, found a user on a
peer-to-peer (P2P) BitTorrent network sharing images of children engaged in sexually explicit
conduct (child sexual abuse material or “CSAM”). The user was utilizing IP Address
173.50.100.187 (the Target IP Address) and was sharing a known torrent file. This torrent file
referenced 4,461 files, at least one of which was identified as being a file containing CSAM.

2. Using a computer running investigative BitTorrent software, a direct connection
was made to the device at the Target IP Address (the “Suspect Device”). The Suspect Device
reported it was using BitTorrent client software—B W 1|30Elibtorrent/1.2.2.0.

a. On February 14, 2023, law enforcement downloaded approximately 152 files that
the Suspect Device at the Target IP Address made available. The Suspect Device at the Target
IP Address was the sole candidate for each download, and each file was downloaded directly from

the Target IP Address and the Subject Device.

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4, Using publicly available search tools, law enforcement determined that the Target
IP Address was controlled by Internet Service Provider Verizon Fios. Administrative subpoenas
were obtained for subscriber information associated with the Target IP Address, and on or about
March 1, 2023, Verizon Fios identified the customer to be a relative of TYLER RUSSELL SEVIN
at their mutual residence in Virginia Beach, Virginia 23455 (“the Virginia Beach Residence”),
which is within the Eastern District of Virginia, and that the Target IP Address was active on the
date of the subpoena return.

5. On April 11, 2023, members of the Virginia Beach Police Department Special
Investigations Unit executed a lawfully-issued state search warrant at the Virginia Beach
Residence and associated vehicles. TYLER RUSSELL SEVIN was present and read his Miranda
rights, agreed to an interview, and confessed to downloading CSAM on his computer at his
residence. TYLER RUSSELL SEVIN also admitted he had been struggling with CSAM for
about a period of one year but denied having CSAM on other devices of his.

6. Law enforcement seized numerous electronic and computer devices belonging to
TYLER RUSSELL SEVIN during the search, all of which were manufactured outside of Virginia.
Despite denying possessing CSAM on other devices, forensic analysis determined that BitTorrent
was installed on TYLER RUSSELL SEVIN’s computer and that his Apple iPhone contained
numerous files of CSAM.

Is The investigation and forensic analysis of the devices of TYLER RUSSELL
SEVIN prove beyond a reasonable doubt that, from on or about February 14, 2023, to on or about
February 22, 2023. in Virginia Beach, Virginia, within the Eastern District of Virginia, SEVIN
knowingly received a visual depiction using a means and facility of interstate and foreign

commerce, or that had been mailed, shipped, and transported in and affecting interstate and foreign

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commerce, or which contained materials which had been mailed and so shipped and transported,
by any means including by computer. An example of such visual depiction includes CSAM of a
nude, prepubescent female, who appears approximately seven to eight years of age, sitting on a
chair completely nude with her legs spread apart exposing her vagina. Another example includes
CSAM of a nude prepubescent female, approximately seven to nine years old, sitting on the ground
with her legs spread open exposing her vagina.

8. SEVIN received the images via the Internet, which is an interconnected network of
computers with which one communicates when on-line, is a network that crosses state and national
borders, and is a facility of interstate and foreign commerce.

9. The defendant knew that some of the visual depictions described herein and other
images involved in this conduct were images depicting actual minors engaging in sexually explicit
conduct.

10. The actions of the defendant, as recounted above, were in all respects knowing and
deliberate, and were not committed by mistake, accident, or other innocent reason.

11. The defendant acknowledges that the foregoing statement of facts does not describe
all of the defendant’s conduct relating to the offense charged in this case, nor does it identify all

of the persons with whom the defendant may have engaged in illegal activities.

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Respectfully submitted,

Jessica D. Aber
United States Attorney

Date: Click to entef a date. By: Jf TB CHe

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Assistant United States

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After consulting with my attorney and pursuant to the plea agreement entered into this day
between the defendant, TYLER RUSSELL SEVIN, and the United States, | hereby stipulate that
the above Statement of Facts is true and accurate, and that had the matter proceeded to trial, the
United States would have proved the same beyond a reasonable doubt.

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TYLER RUSSELL SEVIN

I am Shemeka C. Hankins, defendant’s attorney. | have carefully reviewed the above

Statement of Facts with him. To my knowledge, his decision to stipulate to these facts is an

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Sefheka C. Hankins, Esq.
Attorney for TYLER RUSSELL SEVIN

informed and voluntary one.

